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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                     §
  AMERICA,                                          §
                                                    §
         Plaintiff and Counter-Defendant            §
                                                    §
                                                    §
                                                    §
                                                    §
  v.                                                § Civil Action No. 3:19-cv-02074-G
                                                    §
  ACKERMAN MCQUEEN, INC.,                           §
                                                    §
         Defendant and Counter-Plaintiff,           §
                                                    §
  MERCURY GROUP, INC., HENRY                        §
  MARTIN, WILLIAM WINKLER, and                      §
  MELANIE MONTGOMERY,                               §
                                                    §
         Defendants.                                §


       On February 22, 2022, the parties met in-person to discuss settlement in compliance with
this Court’s Scheduling Order (Doc 174). The individuals who participated were:

   -   For Plaintiff - lead counsel Cecelia Fanelli
   -   For Plaintiff - counsel Konstantin Parkhomenko
   -   For Plaintiff – client representative John Frazer
   -   For Defendants – lead counsel Brian Mason
   -   For Defendants – counsel G. Michael Gruber
   -   For Defendants – client representative and party, William Winkler
   -   For Defendants – party, Henry Martin
   -   For Defendants – party, Melanie Montgomery

       The parties were unable to make meaningful progress during the settlement conference on
February 22, 2022. However, the parties have made progress during discussions which have
occurred during the past several days. There remains a realistic prospect of settlement at this time
and the parties intend to continue their discussions.
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      Dated: March 1, 2022         Respectfully submitted,

                                   By:_/s/ Cecelia L. Fanelli

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                                   PLAINTIFF
